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                                                                            than 1,000      03/12/25
                                                                                       employees - VA News Page 1 of 6

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                     VA dismisses more than
                     1,000 employees
                     FOR IMMEDIATE RELEASE
                     February 13, 2025 9:06 pm




                             Mission-critical positions are
                             exempt from the reductions, which
                             will enable VA to redirect over $98
                             million annually to health care,
                             benefits and services for VA
                             beneficiaries.

                             WASHINGTON – The Department of Veterans Affairs today
                             announced the dismissal of more than 1,000 employees.

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                     Those dismissed today include non-bargaining unit
     VA       | News probationary employees who have served less than
                                                                   News a year inResources
                     a competitive service appointment or who have served less
                                                                                                                           VA

                     than two years in an excepted service appointment.
                             The personnel moves will save the department more than
                             $98 million per year, and VA will redirect all of those
                             resources back toward health care, benefits and services for
                             VA beneficiaries.
                             There are currently more than 43,000 probationary
                             employees across the department, the vast majority of
                             whom are exempt from today’s personnel actions because
                             they serve in mission-critical positions – primarily those
                             supporting benefits and services for VA beneficiaries – or are
                             covered under a collective bargaining agreement. VA
                             employees who elected to participate in the Office of
                             Personnel Management’s deferred resignation program are
                             also exempt from today’s personnel actions.
                             The dismissals are effective immediately and have been
                             communicated directly to each employee. As an additional
                             safeguard to ensure VA benefits and services are not
                             impacted, the first Senior Executive Service (SES) or SES-
                             equivalent leader in a dismissed employee’s chain of
                             command can request that the employee be exempted from
                             removal.
                             The dismissals announced today are part of a government-
                             wide Trump Administration effort to make agencies more
                             efficient, effective and responsive to the American People.
                             To that end, VA is refocusing on its core mission: providing
                             the best possible care and benefits to Veterans, their
                             families, caregivers and survivors.
                             “At VA, we are focused on saving money so it can be better
                             spent on Veteran care. We thank these employees for their
https://news.va.gov/press-room/va-dismisses-more-than-1000-employees/                                                      2/6
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                     service to VA. This was a tough decision, but ultimately it’s
     VA       | News the right call to better support the Veterans, families,
                                                                       News
                     caregivers, and survivors the department exists to serve,”
                                                                                   Resources                               VA

                     said VA Secretary Doug Collins. “To be perfectly clear:
                     these moves will not negatively impact VA health care,
                     benefits or beneficiaries. In the coming weeks and months,
                     VA will be announcing plans to put these resources to work
                     helping Veterans, their families, caregivers and survivors.”


                                                                        ###



                                     Reporters and media outlets with questions or
                                    comments should contact the Office of Media
                                     Relations at vapublicaffairs@va.gov


                                     Veterans with questions about their health
                                     care and benefits (including GI Bill).
                                     Questions, updates and documents can be
                                    submitted online.
                                             Contact us online through Ask VA


                                     Veterans can also use our chatbot to get
                                     information about VA benefits and services.
                                     The chatbot won’t connect you with a
                                     person, but it can show you where to go on
                                    VA.gov to find answers to some common
                                     questions.
                                             Learn about our chatbot and ask a question

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            VA to                                         Secretary                               VA to
            complete                                      Collins: We                             terminate
            Federal EHR                                   owe                                     585 non-
            deployment                                    America’s                               mission-
            at nine                                                                               critical or
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             in 2026                                      solutions                              contracts
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            VA targets 2026 for                           WASHINGTON —                            These contracts,
            completing Federal                            Please view a video                     which will be phased
            Electronic Health                             message from VA                         out over the next few
            Record system                                 Secretary [...]                         days, represent less
            deployment at nine                                                                    than one percent of
            additional sites.                                                                     the roughly 90,000
                                                                                                  contracts VA
                                                                                                  currently has in
                                                                                                  place.



                                                         Last updated February 14, 2025


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